Case 2:05-cr-20174-SH|\/| Document 3 Filed 07/29/05 Page 1 of 2 Page|D 8

 

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FOR THE ’ ' '

WESTERN DISTRICT oF TENNEssEE 11; 09
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UNITED sTATEs OF AMERICA ) Th@`;§@'§!q…;jouqy

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vs § CR~ N°' “5'2"" or tit ritz-tests
)
PATRICK ALEXANDER, )

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
The United States Attomey’s Office applies to the Court for a Writ to have Patrick Alexander, RNI
Number 255262, Booking Nurnber 5110821, now being detained in the Shelby County Jail, appear
before the Honorable Tu M. Pham on August 8, 2005, 2005 at 2:00 p.m. for an initial appearance and for
such other appearances as this Court may direct.
Respectfillly submitted this 29th day of July, 2005.

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FREDE . GOD

Assistant U. S. Attorney
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Upon consideration of the foregoing Application, David Jol]ey, U.S. Marshal, Western District of
Tennessee, Memphis, TN, Mark Luttrel}, Sheriff/Warden.

YOU ARE HEREBY COMMANDED to have Patrick Alexander appear before the
Honorable Tu M. Pham at the date and time aforementioned

ENTERED this 29th day of July, 2005.

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UNITED STATES MAGISTRATE JUDGE

This dochent entered on the docket sheet in compliance 3

with R.lla 55 and/or 32lh\ FRCrP on M

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 3 in
case 2:05-CR-20174 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Frederick H. Godwin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

